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                                Morgan Longhurst
                                Morgan Longhurst
                                Email: mlonghurst@raslg.com
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